Case 25-30155 Document 29-5 Filed in TXSB on 03/28/25 Page 1 of 14


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Case 25-30155 Document 29-5 Filed in TXSB on 03/28/25 Page 2 of 14
Case 25-30155 Document 29-5 Filed in TXSB on 03/28/25 Page 3 of 14
Case 25-30155 Document 29-5 Filed in TXSB on 03/28/25 Page 4 of 14
Case 25-30155 Document 29-5 Filed in TXSB on 03/28/25 Page 5 of 14
Case 25-30155 Document 29-5 Filed in TXSB on 03/28/25 Page 6 of 14
Case 25-30155 Document 29-5 Filed in TXSB on 03/28/25 Page 7 of 14
Case 25-30155 Document 29-5 Filed in TXSB on 03/28/25 Page 8 of 14
Case 25-30155 Document 29-5 Filed in TXSB on 03/28/25 Page 9 of 14
Case 25-30155 Document 29-5 Filed in TXSB on 03/28/25 Page 10 of 14
Case 25-30155 Document 29-5 Filed in TXSB on 03/28/25 Page 11 of 14
Case 25-30155 Document 29-5 Filed in TXSB on 03/28/25 Page 12 of 14
Case 25-30155 Document 29-5 Filed in TXSB on 03/28/25 Page 13 of 14
Case 25-30155 Document 29-5 Filed in TXSB on 03/28/25 Page 14 of 14
